Case 1:18-cv-10225-MLW Document 440 Filed 12/23/19 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO, ET AL.,
individually and on behalf of all
others similarly situated,
Petitioners-Plaintiffs,
Vv. C.A. No. 18-10225-MLW
CHAD WOLF, ET AL.,
Respondents-Defendants.

ORDER

WOLF, D.d. December 23, 2019

It is hereby ORDERED that:

1. Respondents shall, by December 24, 2019, at 9:00 a.m.:
(a) report that petitioner Seoun Kim has been released from
detention pending the resolution of the issues in Petitioners’
Motion for Order to Show Cause; or (b) respond to petitioners'
Motion for Immediate Interim Release (Docket No. 437) (the
"Motion") and seek to show cause why the court should not order
Kim's release.

2. If necessary, a hearing on the Motion will be held on
December 27, 2019, at 9:30 a.m. Kim shall be present and,
therefore, respondents shall transport him to the hearing.

3. In order to preserve the court's jurisdiction and to

provide the parties an opportunity to brief the issues properly,
Case 1:18-cv-10225-MLW Document 440 Filed 12/23/19 Page 2 of 2

Kim shall not be moved outside the District of Massachusetts until
the Motion has been resolved, and he shall remain detained within
the jurisdiction of the Boston Enforcement and Removal Operations
("Boston ERO") unless the court orders otherwise. See 28 U.S.C.

§1651 (a).

Cen op ta, MO PES

UNITED STATES DISTRICT JUDGE \
